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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


   IN RE CARNIVAL CORP. SECURITIES                   Case No. 1:20-cv-22202-KMM
   LITIGATION

                                                     CLASS ACTION


   ABRAHAM ATACHBARIAN, individually                 Case No. 1:20-cv-23011-RNS
   and on behalf of all others similarly situated,

                          Plaintiff,                 CLASS ACTION

                  v.

   CARNIVAL CORPORATION, CARNIVAL
   PLC, ARNOLD W. DONALD, DAVID
   BERNSTEIN, and MICKY ARISON,

                          Defendants.



         MOTION OF THE NEW ENGLAND CARPENTERS PENSION AND
     GUARANTEED ANNUITY FUNDS AND THE MASSACHUSETTS LABORERS’
     PENSION AND ANNUITY FUNDS FOR APPOINTMENT AS LEAD PLAINTIFF,
      APPROVAL OF THEIR SELECTION OF COUNSEL, AND CONSOLIDATION
                          OF RELATED ACTIONS
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            PLEASE TAKE NOTICE that, on a date and at a time designated by the Court, before the

  Honorable K. Michael Moore, at the United States District Court for the Southern District of

  Florida, Wilkie D. Ferguson, Jr. United States Courthouse, located at 400 North Miami Avenue,

  Room 13-1, Miami, Florida, the New England Carpenters Pension and Guaranteed Annuity Funds

  (“New England Carpenters”) and the Massachusetts Laborers’ Pension and Annuity Funds

  (“Massachusetts Laborers”) will respectfully move this Court, pursuant to Section 21D(a)(3)(B)

  of the Securities Exchange Act of 1934, 15 U.S.C. § 78u-4(a)(3)(B), as amended by the Private

  Securities Litigation Reform Act of 1995 (the “PSLRA”), for the entry of an Order: (i) appointing

  New England Carpenters and Massachusetts Laborers as Lead Plaintiff; (ii) approving their

  selection of Bernstein Litowitz Berger & Grossmann LLP (“Bernstein Litowitz”) and Kessler

  Topaz Meltzer & Check, LLP (“Kessler Topaz”) as Lead Counsel and Carella, Byrne, Cecchi,

  Olstein, Brody & Agnello, P.C. (“Carella Byrne”) as Liaison Counsel for the Class; (iii)

  consolidating all related securities class actions pursuant to Rule 42(a) of the Federal Rules of

  Civil Procedure (“Rule 42(a)”); and (iv) granting such other relief as the Court may deem just and

  proper.

            This Motion is made on the grounds that New England Carpenters and Massachusetts

  Laborers believe they are the “most adequate plaintiff” under the PSLRA and should therefore be

  appointed Lead Plaintiff. Specifically, New England Carpenters and Massachusetts Laborers

  believe that they have the “largest financial interest” in the relief sought by the Class in this action

  by virtue of, among other things, the approximately $5.7 million in losses that they incurred on

  their purchases of 206,149 shares of Carnival Corporation stock between September 26, 2019 and

  May 1, 2020. New England Carpenters and Massachusetts Laborers also believe that they

  otherwise satisfy the requirements of Rule 23 of the Federal Rules of Civil Procedure because their




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  claims are typical of other Class members’ claims and because they will fairly and adequately

  represent the interests of the Class. New England Carpenters and Massachusetts Laborers are a

  paradigmatic Lead Plaintiff under the PSLRA because they are sophisticated institutional investors

  with a substantial financial interest in the litigation and the proven ability to supervise and monitor

  counsel.

         This Motion is supported by the accompanying Memorandum of Law, the Declaration of

  Zachary S. Bower and the exhibits annexed thereto, the prior pleadings and other filings herein,

  and such other written or oral argument as may be permitted by the Court.

         WHEREFORE, New England Carpenters and Massachusetts Laborers respectfully request

  that the Court: (i) appoint New England Carpenters and Massachusetts Laborers as Lead Plaintiff;

  (ii) approve their selection of Bernstein Litowitz and Kessler Topaz as Lead Counsel and Carella

  Byrne as Liaison Counsel for the Class; (iii) consolidate all related securities class actions pursuant

  to Rule 42(a); and (iv) grant such other relief as the Court may deem just and proper.

                 CERTIFICATE REGARDING GOOD FAITH CONFERENCE

         Pursuant to Local Civil Rule 7.1(a)(3), counsel for New England Carpenters and

  Massachusetts Laborers state that they were not able to confer with counsel for the opposing

  movants prior to filing the instant motion. The statutory framework of the PSLRA requires all

  motions seeking Lead Plaintiff appointment to be filed within 60 days of the publication of the

  notice of pendency of the action. See 15 U.S.C. § 78u-4(a)(3)(A)(i)(II). No such motions were

  filed meaningfully in advance of New England Carpenters’ and Massachusetts Laborers’ motion,

  and it was not possible to confer with counsel for the other movants to determine whether the

  instant motion would be opposed or to attempt to resolve the issues raised by the motion.




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  Dated: July 27, 2020                 Respectfully submitted,


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                                       Counsel    for    Proposed Lead Plaintiff
                                       Massachusetts Laborers and Proposed Lead
                                       Counsel for the Class




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                                   CERTIFICATE OF SERVICE

         I hereby certify that on July 27, 2020, I caused a true and correct copy of the foregoing to

  be filed with the Clerk of Court using the CM/ECF system, which will send electronic notification

  of such filing to all counsel of record.

                                               /s/ Zachary S. Bower
                                               ZACHARY S. BOWER
                                               Florida Bar No. 17506




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